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CO 109A- Rev. 3/2010

                        UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                                              )
                                              )
                          VS.                 )           Civil/Criminal No.:   21-CR-34-1 (CRC)
                                              )
THOMAS ROBERTSON                              )
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                                        NOTE FROM JURY



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